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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                        SHERMAN DIVISION

UNITED STATES OF AMERICA §

v-                                      §
                                               §              |Z
                                                        NO. 4:21CR
                                                        Judge (Wtez
                                               §
SHAWN CHI SAM PRICE §

                                          INDICTMENT
                                                                    FILED
                                                                      JAN 1 4 2021
THE UNITED STATES GRAND JURY CHARGES:
                                                                 CLERK, U.S. DISTRICT COURT
                                           Count One EASTERN DISTRICT OF TEXAS

                                                        Violation: 18 U.S.C. § 922(g)(1)
                                                        (Possession of a Firearm by a
                                                        Felon)

        On or about October 13, 2020, in the Eastern District of Texas, Shawn Chisam

Price, defendant, did knowingly and unlawfully possess in and affecting interstate or

foreign commerce, a firearm, to wit, a .44 Magnum Ruger Blackhawk Revolver, bearing

serial number 83-99112, while knowing that he had been convicted of a crime punishable

by imprisonment for a term exceeding one year.


        In violation of Title 18 U.S.C. § 922(g)(1).

              NOTICE OF INTENT TO SEEK CRIMINAL FORFEITURE
                                Pursuant to 18 U.S.C. 8 924(d)

    As a result of the commission of the foregoing offense charged in Count One, the

defendant shall forfeit to the United States, pursuant to 18 U.S.C. § 924(d)(1) any firearm

or ammunition involved in a violation of 18 U.S.C. § 922(g), namely, the following:

    1. .44 Magnum Ruger Blackhawk Revolver, bearing serial number 83-99112;


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    2. Any associated ammunition.

Substitute assets

        If any property subject to forfeiture as a result of any act or omission by the

defendant (i) cannot be located upon the exercise of due diligence, (ii) has been

transferred or sold to, or deposited with a third party, (iii) has been placed beyond the

jurisdiction of the court, (iv) has been substantially diminished in value, or (v) has been

commingled with other property which cannot be subdivided without difficulty, the

defendant shall forfeit to the United States any other property of the defendant s up to the

value of the forfeitable property.




                                                   A TRUE BILL




                                                   GRAND JURY FOREPERSON


STEPHEN J. COX
UNITED STATES ATTORNEY




Special Assistant United States Attorney




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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

UNITED STATES OF AMERICA §
                                                §         NO. 4:21CR
v.                                  §                     Judge
                                                §
SHAWN CHI SAM PRICE §


                                        NOTICE OF PENALTY

                                            Counts One


Violation: 18 U.S.C. § 922(g)(1)

Penalty: Imprisonment of not more than ten (10) years, a fine not to exceed
             $250,000 or twice the pecuniary gain to the defendant or loss to the victim,
             or both imprisonment and a fine; and a term of supervised release of not
             more than three (3) years.

                If the Court determines that the defendant is an Armed Career Offender
                under 18 U.S.C. 924(e), imprisonment of not less than 15 years and not
                more than life, a fine not to exceed $250,000 or twice the pecuniary gain to
                the defendant or loss to the victim, or both; a term of supervised release of
                not more than five (5) years.

Special Assessment: $ 100.00




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